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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
                                                 Case No. 09-cr-20264
       v.
                                                 HONORABLE STEPHEN J. MURPHY, III
NANCY LORI WALKER,

           Defendant.
________________________________/

                         ORDER FOR PSYCHIATRIC OR
                  PSYCHOLOGICAL EXAMINATION OF DEFENDANT

       Defendant Nancy Lori Walker is charged with possession of counterfeit money and

possession of a firearm with an obliterated serial number. Trial in her case is set for

October 27, 2009.

       The defendant has given the Court serious concern about her mental health and

competency to stand trial. First, she has been assigned four court-appointed lawyers on

four separate occasions in the case, and has consistently asked for a fifth. The Court

addressed this request in its September 30, 2009 order. Docket no. 23.

       Second, while represented by current counsel, the defendant communicated with

the Court by means of a direct letter improperly filed through the clerk’s electronic filing

system. The letter was mostly incomprehensible, but did direct personal and derogatory

remarks toward the defendant’s current lawyer. The Court struck the letter from the record

on that basis, among others.

       Most disturbingly, the defendant has behaved in an unusual manner during two

courtroom appearances in which the Court has taken steps to advance the case. The

defendant has wavered greatly between advising the Court that she wishes to plead guilty
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and advising that she wishes to go to trial. On various occasions, the defendant informed

the Court that although she has a court-appointed attorney, she wants to proceed with the

case without the assistance of her attorney, Ms. Kimberly Lewis, and that she wishes to

conduct the trial herself.1

       Most recently, on October 16, 2009, the defendant, defense counsel and counsel

for the government appeared before the Court at a pretrial conference and attempted to

describe to the Court whether the defendant wished to plead guilty or exercise her right to

trial by jury. The Court conducts such hearings routinely in all criminal cases.

       During the October 16 hearing, the Court inquired of defense counsel whether she

believed the defendant adequately comprehended the situation she was in. Defense

counsel Lewis responded "Yes, Your Honor, I do. I don't think there is a competency issue,

although I do question, perhaps, a mental health issue." Obviously, the Court gives

credence to this statement of counsel insofar as the Court has had very little interaction

with the defendant, and Ms. Lewis has visited her on two or three occasions at the Wayne

County Jail during the representation and term of defendant’s pretrial detention.

       The Court then conducted an inquiry of the defendant who proceeded to argue with

the Court, interrupt the dialogue inappropriately, assert that Court was trying to “railroad”

her, and threaten to argue irrelevant matters to the jury. The Court found the defendant’s

behavior to be highly disturbing and questionable.

       It is within the province of the Court to determine whether a defendant is suffering

from a mental disease or defect rendering her mentally incompetent to stand trial. See 18

U.S.C. § 4241(d). Based upon the defendant’s behavior to date, and upon defense


       1
           The Court has advised the defendant that Ms. Lewis will be on stand-by at the
trial, and will be called upon for assistance, as necessary, if she chooses to represent
herself.
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counsel’s statement that the defendant may have a “mental health issue,” the Court has

more than reasonable cause to believe that the defendant may be suffering from a mental

disease or defect of such seriousness to trigger an inquiry under 18 U.S.C. § 4241(a).

      Accordingly, pursuant to the Insanity Defense Reform Act of 1984, 18 U.S.C. §§

4241-4247, it is hereby ORDERED that:

      •      a psychiatrist or psychologist be appointed, authorized, and directed to
             examine the mental condition of defendant Walker, see id. §§ 4241(a), (b),
             4247(b);

      •      government and defense counsel, no later than October 30, 2009, submit to
             the Court the names of no more than three mental health professionals that
             the lawyers would jointly recommend to conduct the examination;

      •      upon identification of a professional who will conduct the examination, the
             defendant be committed to the custody of the Attorney General for such
             psychiatric or psychological examination for a period not to exceed 30 days,
             see id. § 4247(b);

      •      the U.S. Marshals Service transport defendant to and from the office of the
             mental health professional if the professional is unwilling or unable to
             examine the defendant in custody;

      •      the examining psychiatrist or psychologist prepare, as soon as practical but
             in no case later than January 31, 2010, a written report that includes (1) the
             defendant's history and present symptoms; (2) a description of the
             psychiatric, psychological, and medical tests that were employed and their
             results; (3) the examiner's findings; and (4) the examiner's opinions as to
             diagnosis, prognosis, and whether the defendant is suffering from a mental
             disease or defect rendering mentally incompetent to the extent that she is
             unable to understand the nature and consequences of the proceedings
             against her or to assist properly in her defense, see id. §§ 4241(b), 4247(c);

      •      the examiner promptly file the written report with this Court and provide
             copies of the report to defense counsel and the attorney for the government,
             see id. § 4247(c);

      •      that upon receipt of the report the Court will order and schedule a
             competency hearing and that the defendant’s current lawyer, Ms. Kimberly
             Lewis, will represent the defendant at the competency hearing, see id. §
             4247(d);

      •      the period beginning with the date of the Court's order, October 23, 2009,
             and ending with the receipt of the report, or January 31, 2010, whichever
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             comes earlier, see id. §§ 4241(c), 4247(d), and subsequently up to and
             including the date of the competency hearing which will take place after the
             Court and parties receive the examiner's written report, be deemed
             excludable delay under the Speedy Trial Act pursuant to 18 U.S.C. §§
             3161(h)(1)(A) and (h)(1)(F), and that the period beginning the day after the
             conclusion of the competency hearing and ending with the Court's ruling on
             defendant's mental competency, or with the lapse of 30 days, whichever
             occurs first, be deemed excludable delay pursuant to 18 U.S.C. §
             3161(h)(1)(H); and

      •      the trial date, currently set for October 27, 2009 is adjourned pending
             resolution of the competency examination and hearing.


      SO ORDERED.



                           s/Stephen J. Murphy, III
                           STEPHEN J. MURPHY, III
                           United States District Judge

Dated: October 23, 2009

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on October 23, 2009, by electronic and/or ordinary mail.

                           s/Alissa Greer
                           Case Manager
